             Case 7:19-cv-06744-CS Document 13 Filed 10/19/20 Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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In re:
                                                                                ORDER
WINDSTREAM HOLDINGS, INC., et al.,
                                                                          No. 19-CV-6744 (CS)
                                    Debtors.
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ROBERT MURRAY,

                                   Appellant,

         - against -

WINDSTREAM HOLDINGS, INC., et al.,

                                   Appellees.

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Seibel, J.

         Appellant filed a notice of appeal in this case on July 19, 2019. (Doc. 1.) On October 17,

the Court granted a motion to adjourn all briefing deadlines pending further action by the

Arkansas District Court and ordered the parties to submit a joint status update no later than

February 18, 2020. (Doc. 6.) The parties did so, (Doc. 7), but failed to comply with the Court’s

subsequent orders requesting status updates by May 18 and July 13, (Docs. 8-9). On August 7,

the Court ordered Appellant to provide a status update by August 14 or the appeal would be

dismissed for failure to prosecute. (Doc. 10.) Appellant did so, (Doc. 11), and the Court ordered

the parties to submit a joint status update by October 13, warning them that having twice failed

to comply with the Court’s orders, further failure to comply may result in sanctions, including

dismissal of the appeal, (Doc. 12).

         October 13 has passed, and the parties have failed – now for the third time – to comply

with the Court’s order to provide a status update. If the Court does not hear from Appellant by
          Case 7:19-cv-06744-CS Document 13 Filed 10/19/20 Page 2 of 2




tomorrow, October 20, the Court will dismiss the appeal for failure to prosecute without further

notice.

SO ORDERED.

Dated: October 19, 2020
       White Plains, New York


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                                                         CATHY SEIBEL, U.S.D.J.




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